            Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 1 of 23




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



William Masten and Catherine McAlister, on               Civil Action No. 18-cv-11229
behalf of themselves and all others similarly
situated,

                       Plaintiffs,

              vs.

Metropolitan Life Insurance Company, the
Metropolitan Life Insurance Company Employee             CLASS ACTION
Benefits Committee and John/Jane Does 1-20

                       Defendant.


                                           COMPLAINT

       Plaintiffs William Masten and Catherine McAlister, by and through their attorneys, on

behalf of themselves and all others similarly situated, based on personal knowledge with respect

to their own circumstances and based upon information and belief pursuant to the investigation of

their counsel as to all other allegations, allege the following.

                                         INTRODUCTION

       1.      This is a class action against Defendant Metropolitan Life Insurance Company

(“Metropolitan”), the Metropolitan Life Insurance Company Employee Benefits Committee (the

“Committee”), and the individual members of the Committee (collectively with Metropolitan and

the Committee, the “Defendants”) concerning the failure to pay the alternative benefits available

under its defined benefit Metropolitan Life Retirement Plan (the “Plan”) in amounts that are

actuarially equivalent to the Plan’s default benefit as required under ERISA and the terms of the

Plan itself. By not offering actuarially equivalent pension benefits, Metropolitan is causing retirees

to lose part of their vested retirement benefits in violation of ERISA § 203(a), 29 U.S.C. § 1053(a).
            Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 2 of 23




       2.      Metropolitan sponsors the Plan for its eligible employees and the eligible

employees of certain participating affiliates. The Plan transitioned from a traditional defined

benefit plan to a cash balance benefit plan effective January 1, 2002. All new hires after December

31, 2002, were automatically enrolled in the cash balance benefit plans (the “Current Plan”), while

employees hired before December 31, 2002, had to choose between moving to the cash balance

plan or remaining grandfathered in the preexisting defined benefit plan (the “Traditional Plan”).

       3.      Notwithstanding that retirees accrued benefits under the Traditional and Current

Plans pursuant to different formulae, the Plan provides that the default benefit payable under the

Plan is essentially uniform. All unmarried retirees who retire under the Current Plan and unmarried

retirees under the Traditional Plan who retired prior to July 1, 2008, receive by default a 5 Year

Certain and Life Annuity (“5YCLA”). Unmarried retirees under the Traditional Plan who retire

on or after July 1, 2008, receive a 12 Year Certain and Life Annuity (“12YCLA,” and, collectively

with the “5YCLA,” the “Default Benefits”). See Plan at §§ 5.02, 5.02-A.

       4.      The Plan (under both the Current and Traditional formulations) also offers several

other optional benefits (the “Alternate Annuity Benefits”). For example, ERISA requires that

pension plans offer married retirees the option of receiving a payment stream for their life and their

spouse’s life after the retiree dies (a “joint and survivor annuity”). ERISA § 205(d), 29 U.S.C. §

1055. A joint and survivor annuity is expressed as a percentage of the benefit paid during the

retiree’s life. For example, a 50% joint and survivor annuity provides a surviving spouse with

50% of the amount that was paid during the retiree’s life. The Plan mandates a joint and survivor

annuity for married Participants unless both the participant and his or her spouse select otherwise.

       5.      When retirees receive a joint and survivor annuity, they receive lower monthly

pension payments than they would if they chose the Default Benefit in exchange for their spouses

receiving payments after their deaths. However, the Plan specifically promises that joint and



                                                  2
            Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 3 of 23




survivor annuities will be “actuarially equivalent” to each retiree’s Default Benefit, meaning that

the present value of the payment streams must be the same.

       6.      The Plan also offers other Alternate Annuity Benefits, including First-To-Die

Annuities, Single Life Annuities, additional Life Annuities with Noncommutable Terms Certain

different from the Default Benefits, and Qualified Pre-Retirement Survivor Annuities. The Plan

specifically represents that each of these other Alternate Annuity Benefits will be “actuarially

equivalent” to the Default Benefits (see Plan at §§ 5.05, 5.05-A).

       7.      In order to calculate the payment amount of the Alternate Annuity Benefit, actuarial

assumptions are applied to calculate the present value of the future payments of each type of

benefit. These assumptions are based on a set of mortality tables and long-term interest rates. The

present values of a retiree’s Alternate Annuity Benefit must equal the present value of the retiree’s

Default Benefit so that the two forms of payment are “actuarily equivalent.”

       8.      Mortality rates have improved over time with advances in medicine and better

collective lifestyle habits. People who have retired recently are expected to live longer than those

who retired in previous generations. Older morality tables predict that people will die at a faster

rate than current mortality tables. Using an older mortality table with accelerated death rates

decreases the present value of the Alternate Annuity Benefit and, ultimately, the monthly payment

that retirees receive under that Alternate Annuity Benefit.

       9.      The interest rate used also affects the amount of an Alternate Annuity Benefit.

       10.     The mortality table and interest rate together are used to calculate a “conversion

factor” which is used to determine an equivalent benefit between a retiree’s Default Benefit and

the Alternate Annuity Benefit selected by a retiree. For example, under the conversion factor

analysis, an old mortality table with an unreasonably high mortality rate (which results in a lower

benefit) can be offset by an unreasonably high interest rate (which provides for a higher benefit).



                                                 3
           Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 4 of 23




The issue is whether the mortality and interest rate assumptions together result in a conversion

factor that provides for a truly equivalent benefit.

       11.     The Plan specifies the actuarial assumptions used to calculate the conversion factor

(and thus the value of the Alternate Annuity Benefits). Specifically, in terms of a mortality table,

the Plan uses the 1971 Group Annuity Mortality Table for Males (the “1971 GAM” table), set back

one year for Participants or Former Participants and set back five years for beneficiaries. The 1971

GAM table was developed over 45 years ago, when people had much shorter life expectancies.

       12.     Metropolitan’s use of the 1971 GAM mortality table is inherently unreasonable

because of its outdated accelerated mortality rates. The Plan also uses a 6 percent interest rate.

       13.     The combined result of using a 6 percent interest rate and the 1971 GAM mortality

table is that Defendants do not provide actuarially equivalent Alternate Annuity Benefits, but

instead provide Alternate Annuity Benefits that are materially lower than the benefits that would

be a true equivalent to Default Benefits. Accordingly, Defendants caused Plaintiffs and Class

Members to unknowingly forfeit and lose part of their vested benefits due under the terms of the

Plan. Improperly reduced pension benefits violate ERISA’s anti-forfeiture rule and cause Plaintiffs

and other participants and beneficiaries of the Plan injury every month and will continue to affect

them throughout their retirements.

       14.     Plaintiffs accordingly seek an order from the Court reforming the Plan to conform

to ERISA, payment of future benefits in accordance with the reformed Plan as required under

ERISA, payment of amounts improperly withheld, and such other relief as the Court determines

to be just and equitable.

                                 JURISDICTION AND VENUE

       15.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 because it is a civil action arising under the laws of the United States, and pursuant to 29



                                                  4
          Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 5 of 23




U.S.C. § 1332(e)(1), which provides for federal jurisdiction of actions brought under Title I of the

Employee Retirement Income Security Act of 1974, 29 U.S.C. § 1001, et seq. (“ERISA”).

       16.     This Court has personal jurisdiction over the Defendant because it is headquartered

and transact business in, or resides in, and has significant contacts with, this District, and because

ERISA provides for nationwide service of process.

       17.     Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because some or all of the violations of ERISA occurred in this District and

Defendant resides and may be found in this District. Venue is also proper in this District pursuant

to 28 U.S.C. § 1391 because Defendant does business in this District and a substantial part of the

events or omissions giving rise to the claims asserted herein occurred within this District.

                                             PARTIES

       Plaintiffs

       18.     Plaintiff William Masten is a resident of Spokane, Washington, and a beneficiary

in the Plan. Mr. Masten worked for Metropolitan for over 32 years until he retired in 2012. Under

the terms of the Plan, Mr. Masten and his wife receive a joint and survivor retirement annuity.

       19.     Plaintiff Catherine McAlister is a resident of Jacksonville, FL and a beneficiary in

the Plan. Ms. McAlister worked for Metropolitan for approximately 40 years until she retired in

December 2014. Under the terms of the Plan, Ms. McAlister and her husband receive a joint and

survivor retirement annuity.

       Defendants

       20.     Defendant Metropolitan Life Insurance Company (“Metropolitan”) is among the

largest providers of insurance, annuities and employee benefit programs with its headquarters and

principal place of business in New York, NY. Metropolitan is the sponsor the Plan, and the Plan

names Metropolitan as the administrator of the Plan.



                                                  5
            Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 6 of 23




       21.     Defendant Metropolitan Life Insurance Company Employee Benefits Committee

(the “Committee”) is the committee that has fiduciary responsibility for the administration and

operation of the Plan as set forth in the Plan document. The Committee is a named fiduciary in

the Plan, and is a fiduciary for the Plan within the meaning of ERISA § 3(21(A), 29 U.S.C. §

1002(21)(A), because it exercises discretionary authority or control respecting the management of

the Plan and authority or control respecting the management or disposition of Plan assets.

       22.     John/Jane Does 1 through 20, inclusive, are the individual members of the

Committee, or any other committee(s) responsible for administering the Plan. Their names and

identities are not currently known.

                            APPLICABLE ERISA REQUIREMENTS

      23.      ERISA requires that benefits from a defined benefit plan be paid to married

Participants in the form of a qualified joint and survivor annuity (a “QJSA”) unless the participant,

with the consent of his or her spouse, elects an alternative form of payment, making the QJSA the

default benefit under an ERISA plan for employees who are married. ERISA § 205(a) and (b), 29

U.S.C. § 1055(a) and (b).

      24.      A QJSA is an annuity for the life of the plan participant with a survivor benefit for

the life of the spouse that is not less than 50%, and not greater than 100% of the annuity payable

during the joint lives of the participant and the spouse. ERISA § 205(d)(1), 29 U.S.C. § 1055(d)(1).

For example, if a plan participant receives $1,000 per month under a 50% joint and survivor

annuity, the spouse will receive $500 a month after the participant’s death. Metropolitan offers a

50% QJSA.

      25.      A QJSA “must be as least as valuable as any other optional form of benefit under

the plan at the same time.” 26 C.F.R. § 1.401(a)-20 Q&A 16.




                                                 6
             Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 7 of 23




       26.      Pension plans may also offer participants alternative forms of survivor annuities,

known as qualified optional survivor annuities (“QOSA”). ERISA § 205(d)(2), 29 U.S.C. §

1055(d)(2)); see also 26 U.S.C. § 417(g). For example, a pension plan might offer a QJSA in the

form of a 50% joint and survivor annuity, while offering 75% and 100% joint and survivor

annuities as QOSAs. In this case, Plaintiffs Madsen and McAlister both selected a joint and

survivor annuity.

       27.      Other common forms of QOSAs are “First-To-Die” joint and survivor annuities

and alternate “certain and life” annuities (for example, while the Default Benefits under the Plan

includes 5 or 12 year term certain life annuities, the Plan also offers 10, 15 and 20 year terms

certain).

       28.      ERISA also requires that defined benefit plans provide a qualified pre-retirement

survivor annuity (“QPSA”). ERISA § 205(a)(2), 29 U.S.C. § 1055(a)(2). A QPSA is an annuity

for the life of the participant’s surviving spouse (e.g., a beneficiary) if the participant dies before

reaching the plan’s normal retirement age. ERISA § 205(e), 29 U.S.C. § 1055(e). ERISA requires

that a QPSA be actuarially equivalent to what the surviving spouse would have received under the

plan’s QJSA and any QOSAs. Id. at § 205(e)(1)(A), 29 U.S.C. § 1055(e)(1)(A).

       29.      ERISA does not require that pension plans offer lump-sum distributions of vested

benefits to retirees upon their retirement. ERISA § 205(g), 29 U.S.C. § 1055(g). If plans offer a

lump-sum distribution as an optional benefit, Section 205(g)(3) of ERISA, 29 U.S.C. § 1055(g)(3),

requires that the interest rate and mortality table specified in annually updated Treasury regulations

be used to determine the actuarial equivalence of a lump-sum distribution of a plan’s standard

benefit.

       30.      The Treasury regulations for the Tax Code provision corresponding to ERISA §

205 (26 U.S.C. § 401(a)(11)), similarly provide that a QJSA “must be at least the actuarial



                                                  7
               Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 8 of 23




equivalence of the normal form of life annuity or, if greater, of any optional form of life annuity

offered under the plan. Equivalence may be determined on the basis of consistently applied

reasonable actuarial factors...” 26 C.F.R. 1.401(a)-11(b)(2) (emphasis added).

         31.      The Treasury regulations further provide that the term “life annuity” includes

annuities with terms certain in additional to single life annuities. “The term ‘life annuity’ means

an annuity that provides retirement payments and requires that survival of the participant or his

spouse as one of the conditions for payment or possible payment under the annuity. For example,

annuities that make payments for 10 years or until death, whichever occurs first or whichever

occurs last, are life annuities.” 26 C.F.R. 1.401(a)-11(b)(1)(i).

         32.      For QJSAs, QOSAs and QPSAs, although the interest rate and mortality table

specified by the Treasury regulations may be used, a plan is permitted use alternative actuarial

assumptions, so long as they are reasonable. Treasury regulations concerning disclosures to plan

participants provide that Alternative Annity Benefits, like a QOSA, must be compared to a QJSA

using:

                  . . . a single set of interest and mortality assumptions that are reasonable
                  and that are applied uniformly with respect to all such optional forms
                  payable to the participant . . . . For this purpose, the reasonableness of
                  interest and mortality assumptions is determined without regard to the
                  circumstances of the individual participant. In addition, the applicable
                  mortality table and applicable interest rate (as prescribed by the Treasury)
                  are considered reasonable actuarial assumptions for this purpose and thus
                  are permitted (but not required) to be used.

26 C.F.R. 1.417(a)(3)-1(c)(2)(iv)(B)(emphasis added).

         33.      Section 203(a) of ERISA, 29 U.S.C. § 1053(a), provides that an employee’s right

to his or her vested retirement benefits is non-forfeitable. The Treasury regulation for the Tax

Code provision corresponding to ERISA § 203 (26 U.S.C. § 411), states that “adjustments in

excess of reasonable actuarial reductions, can result in rights being forfeitable.” 26 C.F.R. §

1.411(a)-4(a).


                                                   8
           Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 9 of 23




                               SUBSTANTIVE ALLEGATIONS

I.      THE PLAN

        34.    Metropolitan established the Plan to “provide[] a solid foundation on which to build

your financial freedom.” See, e.g., Summary Plan Description (SPD). Metropolitan sponsors the

Plan.

        35.    All participants in and beneficiaries of the Plan are current and former employees

of Metropolitan, spouses of current and former employees, or other beneficiaries. Under the terms

of the Plan, participants are entitled to receive a monthly pension that begins at the Normal

Retirement Date of age 65, although various early retirement options are available

        36.    The Plan is an “employee pension benefit plan” within the meaning of ERISA

§ 3(2)(A), 29 U.S.C. § 1002(a)(A).

        37.    The Plan is a defined benefit plan within the meaning of ERISA § 3(35), 29 U.S.C.

§ 1002(35).

        38.    The Plan is administered by Metropolitan. Metropolitan has delegated to the

Committee the responsibility for carrying out at least some of its fiduciary responsibilities with

respect to the Plan.

        39.    In addition to the Default Benefits, the Plan offers several Alternate Annuity

Benefits, including:

               •       the 50% QJSA for married couples;

               •       additional joint and survivor annuities that offer alternate percentage

                       survivorship benefits to a Plan participant’s surviving spouse;

               •       “first to die annuities” that are similar to joint and survivor annuities except

                       that the “survivor” benefit begins for the remaining spouse once either the

                       participant or the participant’s spouse dies;



                                                  9
            Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 10 of 23




                •        single life annuities with no minimum term certain;

                •        single life annuities with alternate certain terms from those offered in the

                         Default Benefits, including 10, 15 and 20 year terms); and

                •        QPSAs.

          40.   The Plan promises that each of these Alternate Annuity Benefits will be “actuarially

equivalent” to a retiree’s Default Benefit. See Plan at § 5.05, 5.05-A; Summary Plan Description

effective January 1, 2009 (“SPD”) at p. 9; 2017 Form 5500 (the “Form 5500”) at Schedule SB,

Part V.

          41.   The Default Benefits are life annuities within the meaning of 26 C.F.R. 1.401(a)-

11(b)(1)(i). Accordingly, they must be actuarially equivalent to a QJSA in accordance with the

terms of that Regulation.

II.       The Plan’s Alternate Annuity Benefits Are Not Actuarially Equivalent to the Default
          Benefits.

          A.    Converting a Default Benefit to an Alternate Annuity Benefit.

          42.       To convert a retiree’s Default Benefit into an Alternate Annuity Benefit, the

present value of the aggregate (i.e., total) future benefits that the participant (and, if applicable,

the beneficiary) is expected to receive under both the Default Benefit and the Alternate Annuity

Benefit must be determined. The present values are then compared to determine the conversion

factor. There are two main components of these present value calculations: an interest rate and a

mortality table.

          43.   An interest rate is used to determine the present value of each future payment. This

is based on the time value of money, meaning that money available now is worth more than the

same amount in the future due to the ability to earn investment returns. The rate that is used is

often called a “discount rate” because it discounts the value of a future payment.




                                                  10
          Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 11 of 23




       44.     The interest rate that a defined benefit plan uses should be based on prevailing

market conditions. As such, the interest rate may be broken into segments of short-term, medium-

term and long-term expectations pertaining to each future payment.

       45.     A mortality table is a series of rates which predict how many people at a given age

will die before attaining the next higher age. More recent tables are “two-dimensional” in that the

rates are based not only on the age of the individual but the year of birth. The Society of Actuaries,

an independent actuarial group, publishes the mortality tables that are the most widely-used by

defined benefit plans when doing these conversions. New mortality tables were published in 1971

(the “1971 GAM”), 1983, 1984 (the “UP 1984”), 1994 (the “1994 GAR”), 2000 (the “RP-2000”)

and 2014 (“RP-2014”) to account for changes to a population’s mortality experience.

       46.     Since at least the 1980s, the life expectancies in mortality tables have steadily

improved as shown below:




Source: Aon Hewitt, Society of Actuaries Finalizes New Mortality Assumptions: The Financial

and Strategic Implication for Pension Plan Sponsors (November 2014) at 1. According to this

paper, there have been “increasing life expectancies over time” and just moving from the 2000

mortality table to the 2014 table would increase pension liabilities by 7%.



                                                 11
            Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 12 of 23




       47.      In the years between the publication of a new mortality table, mortality rates are

often “projected” to future years to account for expected improvements in mortality. For example,

the RP-2014 mortality table is commonly projected by actuaries using a mortality improvement

scale to account for additional reductions in mortality rates that have occurred since 2014.

       48.      Using the selected interest rate and mortality table, the present values of the Default

Benefit and the Alternate Annuity Benefit can be compared to calculate a conversion factor that

will determine the amount of the Alternative Benefit that is actuarially equivalent to the Default

Benefit.

       49.      Changes to interest rates or mortality assumptions can have dramatic effects on the

conversion factor and the value of an Alternate Annuity Benefit. When a higher interest rate is

used, the amount of the monthly benefit under a joint and survivor annuity increases. More

antiquated mortality assumptions (i.e., using a mortality table with higher probabilities of death at

a given age than is currently the case) generate lower present values of future payments, and the

amount of the monthly benefit under a joint and survivor annuity decreases.

       50.      Because antiquated mortality rates and higher interest rates have the opposite

effects on the value joint and survivor annuities, using unreasonable assumptions for both criteria

may produce a reasonable result. Put differently, using a high interest rate may counterbalance the

effects of an old mortality table. The interest rate and mortality table used to calculate actuarial

equivalent benefits must be viewed together to determine if they produce a reasonable, and

equivalent, benefit for participants and beneficiaries.

       B.       The Plan Does Not Provide Actuarially Equivalent Benefits to Participants
                Who Receive an Alternative Annuity Benefit.

       51.      Throughout the Class Period, the Plan has used a 6 percent interest rate and the

1971 Group Annuity Mortality table for Males (“1971 GAM”), set back one year for Participants




                                                  12
          Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 13 of 23




or Former Participants and set back five years for other beneficiaries, to convert the Default

Benefits to Alternate Annuity Benefits.

        52.     The 6 percent interest rate that the Plan uses is not, standing alone, necessarily

unreasonable.

        53.     However, the Plan’s use of the 1971 GAM table to calculate actuarially equivalent

benefits is unreasonable when combined with a 6 percent interest rate.

        54.     The 1971 GAM mortality table is nearly 50 years out of date, and as such it

overstates mortality rates. Mortality rates, particularly for males, have steadily declined since the

1970s. The setbacks the Plan uses do not correct the 1971 GAM table’s outdated mortality

assumptions and the mortality rates the Plan used to calculate participants’ retirement benefits

improperly lowered their pension benefits.

        55.     By using the 1971 GAM table, the Plan is decreasing the value of the Alternate

Annuity Benefits relative to the Default Benefits, thereby materially reducing the monthly benefits

that participants and beneficiaries would receive if updated, current mortality assumptions were

used.

        56.     Metropolitan and the Committee knew or should have known that the 1971 GAM

table used mortality rates that were outdated and that produced lower monthly benefits for

participants and beneficiaries receiving an Alternate Annuity Benefit.

        57.     Indeed, Metropolitan and the Committee use very different mortality assumptions

(and interest rates) when they convert a retiree’s retirement account cash balance under the Current

Plan into the 5-Year Certain and Life Annuity Default Benefit:

        The [cash] balance shall be converted to an actuarial equivalent of a 5 Year Certain
        and Life Annuity at retirement using the 30-Year Treasury Rate for the preceding
        November and the applicable mortality table (as defined in IRC § 417(e)).

Form 5500 at Schedule SB, Part V (emphasis added);



                                                 13
          Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 14 of 23




       58.     Accordingly, Defendants know that the proper practice when calculating “actuarial

equivalence” is to use the annually-updated mortality table designated and used by the IRS (as

well as the annually updated 30 Year Treasury Rate for the interest rate). Yet Defendants instead

use the 1971 GAM table, a mortality table nearly 50 years our-of-date, to convert Default Benefits

to Alternate Annuity Benefits.1

       59.     At all times during the Class Period, Metropolitan’s use of the 1971 GAM mortality

table to calculate actuarially equivalent benefits was unreasonable.

       60.     Because the Plan used grossly outdated mortality tables throughout the Class

Period, the benefits paid to Plan participants and beneficiaries who receive payments under an

Alternate Annuity Benefit are not actuarially equivalent to what they would have received if they

had selected the Default Benefit, in violation of ERISA § 205(d)(1)(B), 29 U.S.C. § 1055(d)(1)(B)

and ERISA § 205(d)(2)(A), 29 U.S.C. § 1055(d)(2)(A). Rather, the benefits payable under these

optional forms of benefits are much lower than they should be.

       61.     Plaintiffs are each beneficiaries of the Plan who are receiving an Alternate Annuity

Benefit (specifically, a joint and survivor annuity). Because their benefits were calculated by using

a 6 percent interest rate and the 1971 GAM mortality table, Plaintiffs are receiving less each month

than they would if the Plan used current, reasonable actuarial assumptions. They, along with other

class members, have been substantially damaged as a result of receiving benefits below an

actuarially equivalent amount.

                               CLASS ACTION ALLEGATIONS

       62.     Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of themselves and the class (the “Class”) defined as follows:


1
  It appears that Defendants have not updated the mortality table actuarial assumptions used to
calculate the conversion factor since the Plan was implemented on January 1, 1976, as a
substitute for the previous plan and ostensibly to bring the Plan into compliance with ERISA.


                                                 14
            Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 15 of 23




                All participants in and beneficiaries of the Plan who elected to
                receive an Alternate Annuity Benefit. Excluded from the Class are
                Defendants and any individuals who are subsequently to be
                determined to be fiduciaries of the Plan.

          63.   The members of the Class are so numerous that joinder of all members is

impractical. Upon information and belief, the Class includes thousands of persons; Metropolitan

employs nearly 50,000 persons and the Plan in question covers all U.S. salaried or commissioned

employees who have completed a year of service.

          64.   Plaintiffs’ claims are typical of the claims of the members of the Class because

Plaintiffs’ claims and the claims of all Class members arise out of the same policies and practices

as alleged herein, and all members of the Class are similarly affected by Defendants’ wrongful

conduct.

          65.   There are questions of law and fact common to the Class and these questions

predominate over questions affecting only individual Class members. Common legal and factual

questions include, but are not limited to:

                A.     Whether the Plan’s formulae for calculating Alternate Annuity Benefit

                       provide benefits that are actuarially equivalent to Default Benefits;

                B.     Whether the Plan’s actuarial assumptions are reasonable;

                C.     Whether the Plan should be reformed to comply with ERISA; and

                D.     Whether Plaintiffs and Class members should receive additional benefits.

          66.   Plaintiffs will fairly and adequately represent the Class and have retained counsel

experienced and competent in the prosecution of ERISA class actions. Plaintiffs have no interests

antagonistic to those of other members of the Class. Plaintiffs are committed to the vigorous

prosecution of this action and anticipate no difficulty in the management of this litigation as a class

action.




                                                  15
             Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 16 of 23




       67.       This action may be properly certified under either subsection of Rule 23(b)(1).

Class action status is warranted under Rule 23(b)(1)(A) because prosecution of separate actions

by the members of the Class would create a risk of establishing incompatible standards of conduct

for Defendants. Class action status is warranted under Rule 23(b)(1)(B) because prosecution of

separate actions by the members of the Class would create a risk of adjudications with respect to

individual members of the Class that, as a practical matter, would be dispositive of the interests of

other members not parties to this action, or that would substantially impair or impede their ability

to protect their interests.

       68.       In the alternative, certification under Rule 23(b)(2) is warranted because

Defendants have acted or refused to act on grounds generally applicable to the Class, thereby

making appropriate final injunctive, declaratory, or other appropriate equitable relief with respect

to the Class as a whole.

       69.       In the alternative, certification under Rule 23(b)(3) is warranted because the

questions of law or fact common to the members of the class predominate over any questions

affecting only individual members, and a class action is superior to other available methods for the

fair and efficient adjudication of the controversy.

                                   FIRST CLAIM FOR RELIEF
                                  Declaratory and Equitable Relief
                              (ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3))

        70.      Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint.

        71.      The Plan improperly reduces annuity benefits for participants and beneficiaries who

receive an Alternate Annuity Benefit below the benefits that they would receive if those benefits

were actuarially equivalent to the Default Benefit as ERISA requires.




                                                  16
          Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 17 of 23




        72.     ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or beneficiary

to bring a civil action to: “(A) enjoin any act or practice which violates any provision of this title

or the terms of the plan, or (B) to obtain other appropriate equitable relief (i) to redress such

violations or (ii) to enforce any provisions of this title or the terms of the plan.”

        73.     Pursuant to this provision, 28 U.S.C. §§ 2201 and 2202, and Federal Rule of Civil

Procedure 57, Plaintiffs seek declaratory relief, determining that the Plan’s established

methodologies for calculating actuarial equivalence of Alternate Annuity Benefits, including the

joint and survivor annuity, single life annuity, and “certain and life” options, violate ERISA

because they do not provide an actuarially equivalent benefit. By not providing an actuarially

equivalent benefit, Defendants have violated ERISA’s anti-forfeiture clause, ERISA § 203(a), 29

U.S.C. § 1053(a).

        74.     Plaintiffs further seek orders from the Court providing a full range of equitable

relief, including but not limited to:

                (a)     re-calculation, correction and payment of benefits previously paid for

Alternate Annuity Benefits;

                (b)     an “accounting” of all prior benefits and payments;

                (c)     a surcharge;

                (d)     disgorgement of amounts wrongfully withheld;

                (e)     disgorgement of profits earned on amounts wrongfully withheld;

                (f)     a constructive trust;

                (g)     an equitable lien;

                (h)     an injunction against further violations; and

                (i)     other relief the Court deems just and proper.




                                                  17
          Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 18 of 23




                            SECOND CLAIM FOR RELIEF
      For Reformation of the Plan and Recovery of Benefits Under the Reformed Plan
               (ERISA § 502(a)(1) and (3), 29 U.S.C. § 1132(a)(1) and (3))

        78.     Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint.

        79.     ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or beneficiary

to bring a civil action to: “(A) enjoin any act or practice which violates any provision of this title

or the terms of the plan, or (B) to obtain other appropriate equitable relief (i) to redress such

violations or (ii) to enforce any provisions of this title or the terms of the plan.”

        80.     The Plan improperly reduces annuity benefits for participants who receive

Alternate Annuity Benefits below the benefits that they would receive if those benefits were

actuarially equivalent to the Default Benefit as ERISA requires. By not providing an actuarially

equivalent benefit, Defendants have violated ERISA’s anti-forfeiture clause, ERISA § 203(a), 29

U.S.C. § 1053(a).

        81.     Plaintiffs are entitled to reformation of the Plan to require Defendants to provide

actuarially equivalent benefits.

        82.     ERISA § 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B), authorizes a participant or

beneficiary to bring a civil action to “recover benefits due to him under the terms of his plan, to

enforce his rights under the terms of the plan, or to clarify his rights to future benefits under the

terms of the plan.”

        83.     Plaintiffs are entitled to recover actuarially equivalent benefits, to enforce their

right to the payment of past and future actuarially equivalent benefits, and to clarify their rights to

future actuarially equivalent benefits, under the Plan following reformation.




                                                  18
          Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 19 of 23




                             THIRD CLAIM FOR RELIEF
                               Breach of Fiduciary Duty
              (ERISA §§ 1104 and 502(a)(3), 29 U.S.C. §§ 1104 and 1132(a)(3))

       84.     Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

Complaint.

       85.     As the Plan’s administrator, Metropolitan is a named fiduciary of the Plan.

       86.     The Committee is a named fiduciary of the Plan.

       87.     ERISA treats as fiduciaries not only persons explicitly named as fiduciaries under

§ 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons who in fact perform fiduciary

functions. Thus, a person is a fiduciary to the extent “(i) he exercises any discretionary authority

or discretionary control respecting management of such plan or exercises any authority or control

respecting management or disposition of its assets, (ii) he renders investment advice for a fee or

other compensation, direct or indirect, with respect to any moneys or other property of such plan,

or has any authority or responsibility to do so, or (iii) he has any discretionary authority or

discretionary responsibility in the administration of such plan.” ERISA § 3(21)(A), 29 U.S.C.

§ 1002(21)(A). This is a functional test. Neither “named fiduciary” status nor formal delegation is

required for a finding of fiduciary status, and contractual agreements cannot override finding

fiduciary status when the statutory test is met.

       88.     The Committee and its members are fiduciaries for the Plan because they exercised

discretionary authority or discretionary control respecting management of such plan or exercised

any authority or control respecting management or disposition of Plan assets. In particular, they

had authority or control over the amount and payment of benefits paid through Alternate Annuity

Benefits which were paid from Plan assets.




                                                   19
          Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 20 of 23




        89.     ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), provides that a fiduciary shall

discharge its duties with respect to a plan in accordance with the documents and instruments

governing the plan insofar as the Plan is consistent with ERISA.

        90.     The Plan is not consistent with ERISA because it uses the outdated 1971 GAM

mortality table to calculate actuarially equivalent benefits. When combined with the Plan’s use of

a 6% interest rate, the Plan’s calculation of benefits other than the Default Benefits does not

provide actuarially equivalent options which resulted in participants and beneficiaries illegally

forfeiting and losing vested benefits.

        91.     In following the Plan in violation of ERISA, the Committee and its members

exercised their fiduciary duties and control over Plan assets in breach of their fiduciary duties.

        92.     ERISA imposes on fiduciaries that appoint other fiduciaries the duty to monitor the

actions of those appointed fiduciaries to ensure compliance with ERISA.                 In allowing the

Committee to pay unreasonably low benefits in violation of ERISA, Metropolitan breached its

fiduciary duty to supervise and monitor the Committee.

        93.     ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or beneficiary

to bring a civil action to: “(A) enjoin any act or practice which violates any provision of this title

or the terms of the plan, or (B) to obtain other appropriate equitable relief (i) to redress such

violations or (ii) to enforce any provisions of this title or the terms of the plan.”

        94.     Pursuant to this provision, 28 U.S.C. §§ 2201 and 2202, and Federal Rule of Civil

Procedure 57, Plaintiff seeks declaratory relief, determining that the Plan’s established

methodologies for calculating actuarial equivalence of Alternate Annuity Benefits violate ERISA

because they do not provide an actuarially equivalent benefit.

        95.     Plaintiffs further seek orders from the Court providing a full range of equitable

relief, including but not limited to:



                                                  20
            Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 21 of 23




                (a)    re-calculation, correction and payments of benefits previously paid for

Alternate Annuity Benefits;

                (b)    an “accounting” of all prior benefits and payments;

                (c)    a surcharge;

                (d)    disgorgement of amounts wrongfully withheld;

                (e)    disgorgement of profits earned on amounts wrongfully withheld;

                (f)    a constructive trust;

                (g)    an equitable lien;

                (h)    an injunction against further violations; and

                (i)    other relief the Court deems just and proper.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that judgment be entered against Defendants on all claims

and requests that the Court award the following relief:

       A.       Certifying this action as a class pursuant to FED. R. CIV. P. 23;

       B.       Declaring that the Plan fails to properly calculate and pay Alternate Annuity

Benefits that are actuarially equivalent to the Default benefits, in violation of ERISA;

       C.       Ordering Defendants to bring the Plan into compliance with ERISA, including, but

not limited to, reforming the Plan to bring them into compliance with ERISA with respect to

calculation of actuarially equivalent Alternate Annuity Benefits;

       D.       Ordering Defendants to correct and recalculate benefits that have been paid;

       E.       Ordering Defendants to provide an “accounting” of all prior payments of benefits

under the Plan to determine the proper amounts that should have been paid;

       F.       Ordering Metropolitan to pay all benefits improperly withheld, including under the

theories of surcharge and disgorgement;



                                                 21
            Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 22 of 23




       G.       Ordering Metropolitan to disgorge any profits earned on amounts improperly

withheld;

       H.       Imposition of a constructive trust;

       I.       Imposition of an equitable lien;

       J.       Reformation of the Plan;

       K.       Ordering Defendants to pay future benefits in accordance with ERISA’s actuarial

equivalence requirements;

       L.       Ordering Defendants to pay future benefits in accordance with the terms of the Plan,

as reformed.

       M.       Awarding, declaring, or otherwise providing Plaintiffs and the Class all relief under

ERISA § 502(a), 29 U.S.C. § 1132(a), or any other applicable law, that the Court deems proper;

       N.       Awarding attorneys’ fees and expenses as provided by the common fund doctrine,

ERISA § 502(g), 29 U.S.C. § 1132(g), and/or other applicable doctrine; and




                                                   22
        Case 1:18-cv-11229-RA Document 1 Filed 12/03/18 Page 23 of 23




      O.     Any other relief the Court determines is just and proper.



Dated: December 3, 2018                         Respectfully submitted,

                                                    s/ Christopher M. Barrett
                                                   IZARD, KINDALL & RAABE LLP
                                                   Robert A. Izard (to be admitted pro hac vice)
                                                   Seth R. Klein (to be admitted pro hac vice)
                                                   Christopher M. Barrett
                                                   Douglas P. Needham
                                                   29 South Main Street, Suite 305
                                                   West Hartford, CT 06107
                                                   Tel: (860) 493-6292
                                                   Fax: (860) 493-6290
                                                   Email: rizard@ikrlaw.com
                                                   Email: sklein@ikrlaw.com
                                                   Email: cbarrett@ikrlaw.com
                                                   Email: dneedham@ikrlaw.com

                                                   Gregory Y. Porter (to be admitted pro hac
                                                   vice)
                                                   Mark G. Boyko (to be admitted pro hac vice)
                                                   BAILEY & GLASSER LLP
                                                   1054 31st Street, NW, Suite 230
                                                   Washington, DC 20007
                                                   (202) 463-2101
                                                   (202) 463-2103 fax
                                                   gporter@baileyglasser.com
                                                   mboyko@baileyglasser.com

                                                   Counsel for Plaintiffs




                                              23
